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Desciipion litdex:

11/26/2019 585 JAMES J PARKS 1.40 605.00 REVIEW NEW COMPLAINT. TELEPHONE CONFERENCE WITH SUNENT-FRIED 5454500 J
12/05/2019 Inveice=453328 1.40 665.00/BRIAN CHASE RE SAME, REVIEW RES JUDICATA

APPLICATION
12/03/2019 585 JAMES J PARKS 0,50 237,40/REVIEW COMPLAINT TO PREPARE TO ENGAGE IN SUNENT-FRIED 5468174
01/07/2020 Inveice=454615 0.50 237.50/TELEPHONE CONFERENCE WITH LOCAL COUNSEL RE

STRATEGY TO DEFEND COMPLAINT. ENGAGE IN SAME.
01/06/2020 585 JAMES J PARKS 0.30 142.80/ATTN TO STATUS OF NEW LITIGATION, SUNENT-FRIED 5481040
02/06/2020 Invoice=455985 6.30 142.40/ CORRESPONDENCE WITH LOCAL COUNSEL RE SAME.
01/06/2020 585 JAMES J PARKS 1.60 760,00/REVIEW LAW ON RES JUDICATA. REVIEW FILE FOR SUNENT-FRIED 5481048
02/06/2020 Invoice=455985 7.60 760.00|STATUS OF DISCLOSURES. TELEPHONE CONFERENCE

WITH BRIAN CHASE AND ASSOCIATE REVIEW LAW,

OPTIONS AND OBJECTIVES RELATED TO SETTLEMENT,

CHANCE OF SUCCESS AT DISTRICT LEVEL, REQUEST

FOR SUBGET AND DECIDE HOW TO PROCEED. WITH

CLIENT.
01/08/2020 385 JAMES J PARKS 1.36 617.50|/REVIEW AND AMEND MOTION TO BISMISS. SUNENT-FRIED 5481299
02/06/2020 Invoice=4559B5 1.30 617.50/CORRESPONDENCE WITH LOCAL COUNSEL RE

OBJECTIVES, LAW
07/09/2020 585 [JAMES J PARKS 0.60 285,00|)TELEPHONE CONFERENCE WITH LOCAL COUNSEL RE SUNENT-FRIED 5483778
02/06/2020 Invoice=455985 0.60 285,00|/STRATEGY ON MOTION TO DISMISS VS RES JUDICATA

MSD LATER. REVIEW LAW, OPTIONS AND OBJECTIVES.
02/04/2020 585 JAMES J PARKS 2,30 1,092,50/REVIEW RESPONSE TO MOTION 70 DISMISS, REVIEW SUNENT-FRIED 5502487
03/05/2020 Inveice=457352 2,30 1,092,50/LAW, ANALIZE THEIR POSITION. PREPARE FOR

TELEPHONE CONFERENCE WITH BRIAN CHASE ON REPLY,

ANLAYSIS, LAW AND OPTIONS.
02/05/2020 585 JAMES J PARKS 71.50 712_.50/ANALIZE ARGUMENTS IN RESPONSE TO MOTION TO SUNENT-FRIED (5502817
03/05/2020 Inveice=457352 1.50 712,50/D1SMISS, REVIEW CASES, TELEPHONE CONFERENCE

WITH BRIAN CHASE REVIEW LAW, OPTIONS AND

OBJECTIVES, DECIDE ON ISSUE IN WHICH TO PRESENT

REPLY BRIEF.
02/11/2020 585 JAMES J PARKS 41.10 522. 50/REVIEW AND AMEND RESPONSE TO REPLY TO CUR SUNENT-FRIED 5506253
G3/05/2020 Involce=457352 71.10 5§22,50|MOTION TO DISMISS. CORRESPONDENCE WITH LOGAL

COUNSEL RE SAME,
0212/2020 585 JAMES J PARKS 0.30 142.50/REVIEW GORRESPONDENCE FROM LOCAL COUNSEL AND SUNENT-FRIED 5504987
03/05/2020 Invoice=457352 0.30 142.50/REVIEW RESPONSE.
02/17/2020 585 JAMES J PARKS 6.60 285.00 PREPARE FOR ENGAGE IN TELEPHONE CONFERENCE WITH SUNENT-FRIED 5511293
03/05/2020 Invoice=457352 0.60 285.00: CLIENT. REVIEW LAW, GPTIONS AND OBJECTIVES WITH

CLIENT REGARDING LITIGATION, DEFENSES,

STRATEGIES,
02/21/2020 585 JAMES J PARKS 0,30 142. 50(ATTENTION TO DISCOVERY. SUNENT-FRIED 5512486
03/05/2020 Invoice=457352 0,36 142,50
02/27/2020 Sas JAMES J PARKS 0.60 285.00jREVIEW COURT ORDER RE MOTIGN TO DISMISS OR ADD SUNENT-FRIED 5574923
03/05/2020 Involce=457352 0.60 285.00|/PARK PLAGE. PREPARE CORRESPONDENCE TO ALLAND

REVIEW CORRESPONDENCE FROM LOGAL COUNSEL
03/17/2020 585 JAMES J PARKS 1.40 665,00/REVIEW CORRESPONDENCE FROM BRIAN CHASE ON SUNENT-FRIED 5529287
04/06/2020 Invoice=458721 1.40 665,00/DISCOVERY. ATTENTION TO SAME.
03/18/2020 5e5 JAMES J PARKS 1.60 T60.COIATTENTION TO DISCOVERY. CORRESPONDENCE WITH SUNENT-FRIED 5529584
04/06/2020 Invoice=458721 1.60 760,00|JAFFE PARTNERS TO ASERTAIN INFORMATION

REQUESTED RELATED TO RELATIOHSHIP BETWEEN PARK

PLACE AND SUN. REVIEW CLIENT FROM LOCAL COUNSEL

RE SAME.CORRESPONDENCE TO CLIENT AND LOCAL

COUNSEL RE STATUS
03/18/2020 656 DAVID Z ADLER 0.40; 144.00/[REVIEW OPPOSING DISCOVERY REQUESTS: DRAFT SUNENT-FRIED 6529593
o4/06/2020 Invoice=458721 0.40 144, 00/CORRESPONODENCE REGARDING RESPONSES TO DISCOVERY

REQUESTS.
03/20/2020 SBS JAMES J PARKS 0.60 285.00/ATTTENTION TO DISCOVERY. .GORRESPONDENCE WITH SUNENT-FRIED 5530299
04/06/2020 Invoice=458721 0.60 265.00,JAFFE PARTNERS RE ASSISTANCE RE SAME

 

 

 

 

 

 

 

 

 

 
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"03/21/8020 | 789 _|JOSHUAM. BORSON | 0.36|  S0,00/ATTENTION TO INTERROGATORIES. _ SUNENT-FRIED 5530036
o4/N6/2020 Involce=458721 0.20 30.00
03/29/2020 | 354 MILTON. KOVINGKY 0.20 @0.00/ATTENTION TO PARK PLACE LITIGATION, SUNENT-FRIED 5599426
04/06/2020 Involee=458721 0.20 90.00
Garzarzog0 | __354__ [MILTON KOVINSKY 0.80| __405.00/ATTENTION TO PARK PLACE LITIGATION AND SUNENT-FRIED 5530429
Darne/z020 Invoice=456721 0.90) _405.00}0WNERSHIP AND ORGANIZATIONAL MATTERS.
o4oz2020 | 685 JAMES J PARKS 2,60) __1,295.00]REVIEW AMENDED COMPLAINT. REVIEW MOTION TO SUNENTFRIED 3542084
05/06/2020 Involce=460149 2.60| __1,235.00|DISMISS AND FILE 10 ANALZg HOW TO PROGEED.

REVIEW LAW, OPTIONS AND OBJECTIVES WITH LOCAL

COUNSEL, REVIEW AND AMEND MOTIONS.
G4/6/2020 | 585 \JAMES J PARKS 0.60] ____285.00/REVIEW LITIGATION MATTER, EXPERT WITNESS SUNENT-FRIED 5548948
O5/OG/2020 involce=460149 0.60|_285.00|/DISCLOSURE AND MOTIONS. CORRESPONDENCE WITH

LOCAL COUNSEL RE SAME.
04/20/2020 | 585 JAMES 4 PARKS 60 285,00|. RFV CORRESPONDENCE FROM BRIAN RE INFORMATION SUNENTFRIED 5551654
05/06/2020 imvoice=460149 0.60 285,00/0N FRIDEEL DISCOVERY.
Galaiizoz0 | 585 JAMES J PARKS 2.50| __1,187.S0|REVIEW BACKGROUND, FLOW CHARTS, OPERATING SUNENT-FRIED 5551660
05/06/2020 nvolce=460749 2.50 _1,167.50|AGREEMENT OF PARK PLACE 10 ASCERTAIN

INFORMATION RELEVANT TO DISCOVERY REQUESTS.
04/21/2020 | __585  |JAMES J PARKS 7.50 742,50/TELEPHONE CONFERENGE WITH JIM H, SHERI WAND SUNENT-FRIEO 6861661
05/06/2020 Involce=460749 750) ___772.50|BRAIN C RE DISCOVERY RESPONSES, REVIEW LAW,

OPTIONS AND OBJECTIVES OF DISCOVERY REQUESTS,

USE OF EXPERTS, BIFRICATION OF RESPONSIBLITIES

TO OBTAIN INFORMATION, REVIEW DOGUMENTS AFTER

GALL.
04/22/2020 | 585 \JAMES J PARKS 2.60] _1,285,00|ATTENTION TO DISCOVERY, CORRESPONDENCE WITH SUNENT-FRIED BS52102
a5106/2020 invoice=460149 2.60 1,235.00|JULIE NAND SUN TEAM TO DISCUSS PARAMETERS OF

SEARCH, PROTOCOL OF COLLECTION, SEARCH TERMS.

CORRESPONDENCE WITH LOGAL COUNSEL RE RESPONSE

TO MOTION AND PENDING DISCOVERY
oa/2ar2020 |__ 767 WWWULIEANGRTON 0.20 46,00 COMMUNICATIONS WITH JIM PARKS REGARDING SUNENTFRIED 5553449
05/08/2020 Invoice=460749 0.20 46,00|DISCOVERY RESPONSES AND COLLECTION OF EMAILS,
04/23/2020 | 886 [BENJAMIN M. LOW 1.00 205.00[ ELECTRONIC DISCOVERY ZOOM MEETING SUNENT-FRIED Sa52937
osfa6/2020 Invoice=460749 1.00) 205.00
aajaai2020 | 585 JAMES J PARKS 1.50|___902.50|REVIEW CORRESPONDENCE FROM LOCAL COUNSEL ON SUNENTFRIED 15552948
05/06/2020 (nvoice=460149 7.90|____902.50|EXPERT, REVIEW PLEADINGS AND DISCOVERY REQUESTS

TWO ENGAGE IN TELEPHONE CONVERSATION WITH

GUENT, BEN LAND JULIE N RE PARAMETERS OF

ELECTRONIC DISCOVERY. CONTINUED CONVERSATION

WITH LOCAL COUNSEL AND CLIENT RE EXPERT

RETENTION, LEGAL THEORIES AND STRATEGY OF CASE
o4jaa/2020 | 585 JAMES J PARKS 7.60|____760.00[REVIEW AND AMEND REPLY 10 RESPONSE TO MSD ON SUNENTFRIED jss63043
G5/06/2020 Invoice=460149 1.60| __760.00/SECOND AMENDED COMPLAINT, REVIEW ORIGINAL

MOTION AND RESPONSE TO AMEND REPLY. TELEPHONE

CONFERENCE WITH LOGAL COUNSEL RE SAME,
a4/2a/2020 | 767 |JULIEANORTON 750} ___345,00|(CONFERENCE CALL WITH TEAM REGARDING DISCOVERY SUNENT-FRIED Basa4a4
Os/Og/2020 Involce=460749 1.50|___345.00/REQUESTS AND COLLECTION OF EMAILS; BEGIN DRAFT

OF MEMORANDUM PERTAINING TO SEARCH CRITERIAAND

TERMS,
aa/2afz0z0 | 585 [JAMES J PARKS 190} 902. S0/ATTENTION TO DISCOVERY. CORRESPONDENCE WITH SUNENT-FRIED Beei299
06/03/2020 Invoice=461470 7.90 902.50|CLIENT AND LOCAL COUNSEL. REVIEW FILES. AMEND

SEARCH TERMS AND REVIEW CURRENT SEARCHES TO

ACHIEVE MANAGABLE NUMBER OF DOCUMENTS
04/24/2050 | 686 BENJAMIN ML LOW 0.70 743.40/REVIEW CLIENT FILE AND CORRESPONDENCE SUNENT-FRIED 3g5a360
os/og/2020 invoice=460149 0.70 143.60
oaj2ai2020 | 76?  JJULIEA NORTON 2.40 562,00|REVIEW PLEADINGS FOR GASE FACTS; COMPLETE DRAFT SUNENT-FRIED Ba6a416
05/06/2020 invoice=450149 2.40| ___552,00/0F SEARCH TERMS TO APPLY TO SUN'S EMAILS SYSTEM

AND EMAILS REGARDING SAME.

 

 
 

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o4i27i2020 | 585 [JAMES J PARKS 0.70 332,50/AT TENTION TO DISCOVERY. REVIEW EXPERT ISSUES SUNENT-FRIED 15559849
05/06/2020 Involce=460149 0.70 232,50|WITH BRIAN, ADVISE RE SAME,
a4i27i2020 [886 [BENJAMIN M1, LOW 0.90 184,50/REVIEW PLEADINGS AND PROPOSED DISCOVERY TERMS; SUNENT-FRIED SSG8692
05/06/2020 tnvoice=460749 0.90 184,50|CORRESPONDENCE RE: DISCOVERY
a4i2ei2020 [767 jJULIEANORTON 0.70 161.00|UPDATE DRAFT OF SEARCH TERMS, CONFIRM SUNENT-FRIED 5556839
05/06/2020 Involce=460749 0.70 161.00{COLLECTION TIME PERIOD AND EMAILS WITH JEFF

NAUDI REGARDING COLLECTION OF EMAILS.
Gaizej2020 | 585 (JAMES J PARKS 1.20) 570,.00/ATTENTION TO ELECTRONIC DISCOVERY ISSUES, SUNENT-FRIED 5557576
05/08/2020 invoica=460749 1.20 570.00/5EARCH TERMS, TIME PARAMETERS. TELEPHONE

CONFERENCE WITH PARALEGAL AND LOCAL GOUNSEL AND

GHENT RE SAME.
05/01/2020 | 886 [BENJAMIN M. LOW 0.60 123.00|REVIEW EMAIL SEARCH PARAMETERS, CORRESPONDENCE SUNENTFRIED sse0a40
06/03/2020 involce=461470 0.60 123.00|RE: DISCOVERY
05/01/2020 | 767 [JULIEANORTON 1.40) 322,00/REVIEW AND ANALYZE INITIAL SUN EMAIL SEARCH SUNENT-FRIED 5560601
06/03/2020 Involce=461470 1.40 922.00{RESULTS AND COMMUNICATIONS WITH THE TEAM

REGARDING RETHINKING TERMS DUE TO NUMBER OF

SEARCH RESULTS.
os/o4i2020 | 585 [JAMES J PARKS 1.30 617.S0/ATTENTION TO DISCOVERY, CORRESPONDENCE TO LOCAL SUNENT-FRIED 5560688
06/03/2020 Invoice=461470 1.30 617.80|COUNSEL RE 30 (8)(6) DEPOSITIONS AND CHALLENGES

WITH ELECTRONIC DISCOVERY. REVIEW SEARCH TERMS,

NARROW SAME TO CULL UNIVERSE OF EMAILS.

DESIGNATE CERTAIN SEARCHES
osioai2020 [767 (JULIEANORTON 3.20 736,00/EMAILS REGARDING STATUS OF COLLECTION; SUNENT-FRIED ss60a69
0/03/2020 Invoice=461470 3.20 736.00|(CONFERENCE CALL WITH JIM PARKS AND BEN LOW

REGARDING NARROWING AND STREAMLINING SEARCH

TERMS, REVISE SEARCH TERM LIST AND EMAIL TO

JEFF NAUDI,
05/04/2020 | 686 [BENJAMIN M, LOW 0.40 82.00/(CONFERENCE WITH JAMPAR AND JULNOR RE: DISCOVERY SUNENT-FRIED 5561916
08/03/2020 Invoice=461470 0.40 82.00
05/04/2020 [686 _|BENJAMINM, LOW 0.30 61.50/REVIEW DISCOVERY GUIDELINES SUNENT-FRIED 5561950
06/03/2020 Invoice=461470 aad 61,50
05/08/2020 | __184__ [JODY ANDERSON 0.40 80.00/RECEIPT, REVIEW AND RESPOND 10 MULTIPLE SUNENT-FRIED 5561573
08/03/2020 Inwoice=467470 0.40 80.00[REQUESTS REGARDING ADMISSION PRO HAG VICE,
a5/05/2020 | 585 |JAMES J PARKS 2.70| 1,262.50/REVIEW PLEADINGS 10 ENGAGE IN TELEPHONIC STATUS SUNENT-FRIED 5560002
06/03/2020 Invaice=461470 2.70| _1,282.50{CONFERECNE WITH OPPOSING COUNSEL, LOCAL

COUNSELAND THE COURT, FOLLOW UP GALLS WITH

LOCAL COUNSEL RE REVIEW LAW, OPTIONS AND

OBJECTIVES WITH CLIENT. ATTENTION TO PRO HAG

VICE. ATTENTION TO AMENDING SEARCH FOR

ELECTRONIC DISCOVERY AND REVIEW OF OTHER DOCS

FOR PRODUCTION
05/08/2020 | 767 |JULIEANORTON 1,20 278,00/REVIEW EMAIL SEARCH RESULTS FROM JEFF NAUDIAND SUNENT-FRIEO 5581599
0/03/2020 invoice=467470 1.20 278.00/COMMUNICATIONS REGARDING SAME, COMPLETE PROJECT

INITIATION FORM FOR RELATIVITY.
os/06i2020 | 184 (JODY ANDERSON 1.60 320.00[REVIEW COURT DOCKET AND PREPARE MOTION FOR SUNENT-FRIED 5582024
06/03/2020 Invoice=461470 1.60 320.00/ADMISSION PRO HAC VICE IN UNITED STATES

DISTRICT COURT FOR SOUTHERN DISTRICT OF

FLORIDA.. PREPARE ORDER GRANTING MOTION.

PREPARE CORRESPONDENCE TO FLORIDA LOCAL COUNSEL

RE: FILING OF SAME, PREPARE MEMO TO J. PARKS,
05/06/2020 | 585 [JAMES J PARKS 1.20 617.50/ATTENTION TO DISCOVERY. SUNENT-FRIED 5561921
06/03/2020 invoice=461470 1.20 817.50
05/07/2020 | 767 |JULIEANORTON 0.20 46,00/EMAILS TO KLDISCOVERY REGARDING PROVIDING JEFF SUNENT-FRIED 5582436
06/03/2020 Invoice=461470 0.20 46,00|NAUDLACCESS TOT HE KLD FIP SITE,
oso7i2020[ 585 {JAMES J PARKS 4.70 807, 50/ATTENTION TO DISCOVERY SUNENT-FRIED 5567084
06/03/2020 Invoice=461470 1,70 807.50

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REGARDING STATUS OF
COLLECTION,

WITH

TENTION TO DISCOVERY.

TO CORRESPONDENCE RE: DISCOVERY AND
DOCUMENT PRODUCTION

WIEH THE TEAM REGARDING
7G DISCOVERY REQUESTS, DOCUMENTS
STATUS OF LOADING EMAILS TO
AS WELLAS COMMUNICATIONS WITH
REGARDING PROCESSING DOCUMENTS.

TO DISCOVERY

TO PARK PLACE LITIGATION AND ENTITY
GRGANIZATIONAL DOCUMENTS,

RESPONSES TO DISCOVERY, OBJECTIONS.
CONFERENCE WITH BRIAN RE SAME. REVIEW
OPTIONS AND OBJECTIVES WITH LOCAL COUNSEL
FOR TELEPHONE CONFERENCE WITH OPPOSING COUNS
MOTION TO COMPEL

SUNENT-FRIED

REGARDING DOCUMENT
LOADING EMAILS INTO RELATIVITY; ORGANIZE
copy FOR LOADING TO RELATIVITY.

MOTIONS, INFORMATION,
CONFERENCE WITH BRIAN TO DISCUSS
LAW, OPTIONS AND OBJECTIVES WITH
COUNSEL. WITH
COUNSEL RE DISCOVERY MATTERS. ARGUE
AND REQUESTED

1,104.00 SEARCHES iN RELATIVITY AND REVIEW AND CODE
1,104,00 NOT
THE ATTORNEY REVIEW SET.

CALL WITH JIM PARKS AND BEN LOW
REVIEW OF EMAILS IN RELATIVITY:
TO REVIEW AND CODE CLEARLY NOT
IN RELATIVITY: EMAILS WITH
REGARDING BATCHING
PARKS AND BEN LOW.

WITH JULNOR AND JAMPAR RE: OOCUMENT SUNENT-FRIED

CONFERENCE WITH TEAM RE SEARCH
RE STATUS OF DISCOVERY, DELEGATE HOW
WHOM TO PREPARE PROTECTED PRIVILEDGE SHEET
REVIEW ALL EMAILS, COMMENCE REVIEW OF DOCS
PREPARE SEARCH ISSUE TERMS FOR TEAM TO
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TO REVIEW AND CODE CLEARLY
EMAILS IN RELATIVITY AND EMAILS WITH
PARKS REGARDING

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AND CODE CLEARLY NOT RESPONSIVE
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REGARDING RESPONSIVENESS OF PARK PLACE
AND RESIDENT COMMENT RELATED

AND ISSUE SPOT. REVIEW
TO GUT DOWN DOGUMENTS TO PRODUCE.
AND TELEPHONE CONFERENCE WITH
NRE SAME,

TO DISCOVERY, REVIEW DOCS FOR
PRODUCTION, TELEPHONE
CORRESPONDENCE WITH SUN IT

CONFERENCE WITH LOCAL COUNSEL. REVIEW

AND

JIM PARKS REVIEWING AND
DOCUMENTS IN RELATIVITY; RUN SEARCHES
CERTAIN DOCUMENT TYPES, REVIEW RESULTS AND
CODE DOCUMENTS THAT ARE OBVIOUSLY NOT

COMMUNICATIONS WITH JIM PARKS
DOCUMENTS.

SUN DOCUMENT
430.50

369.00
369.00

SUN DOCUMENT PRODUCTION

237,50
237.50

CONFERENCE WITH LOCAL COUNSEL RE
COURT ORDER.

4,520.00
1,520.00

TO OISCOVERY. CODING, ISSUE SPOTTING.

CORRESPONDENCE TO B,
PRO HAC VICE STATUS. RECEIPT, REVIEW
TO CORRESPONDENCE FROM B. CHASE RE:
OF OUR MOTION TO DISMISS,

FOR TELEPHONE CONFERENCE WITH BRIAN,
H. SHERI W RE FEES AND APPEAL. REVIEW LAW,
AND OBJECTIVES WITH CLIENT.
EW OF FEES UNDER FAIR
REVIEW PREVIOUS INVOICES TO ASSESS

FOR SANCTIONS, AMEND SAME,
CONFERENCE WITH LOCAL COUNSEL

TO FILE. REVIEW
COUNSEL RE
How

FROM
TO MOTION FOR FEES,
SHOULD PROCEED.

EW RESPONSE TO MOTION FOR FEES,
EXHIBITS AND BRIEF, PREPARE
TO LOCAL COUNSEL WITH
HOW TO PROCEED.

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7210512019 65.00| 0.48

BRYANT 7,00 5.70 CHARGES NET CHARGES 2450404
7.00 5.70

J PARKS 32,00 0.15 EXPENSE # 1 2453021
32.00 0.15

02/11/2020 Jd PARKS 7.00 0.25
03/05/2020 7.00 0.25

02/14/2020 BRYANT 0.1 EXPENSE #2 2456161
0.1

BRYANT 14 CHARGES NET CHARGES
o5/06/2020 Invoice=460149 1.1

records
TOTALS: — BILL: 29,

TOTAL: = WORK: 29. records
GRAND TOTAL; BILL: 29.

 
